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         EXHIBIT I
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                                                                                            US009356591B2


(12) United States Patent                                                (10) Patent No.:                 US 9,356,591 B2
       Khodabandeh et al.                                                (45) Date of Patent:                      May 31, 2016

(54) CROSSPOINT SWITCH WITH SEPARATE                                  (52) U.S. Cl.
       VOLTAGE SOURCES FOR INPUT AND                                         CPC ............ H03K 17/002 (2013.01); H03K 17/693
       OUTPUT PORTS                                                                   (2013.01); H04L 49/101 (2013.01); G06F
                                                                                                               13/4022 (2013.01)
(75) Inventors: Poupak Khodabandeh, Laguna Beach,                     (58) Field of Classification Search
                                                                           None
                CA (US); Merrick Brownlee, Hillsboro,                      See application file for complete search history.
                OR (US)
                                                                      (56)                References Cited
(73) Assignee: Mindspeed Technologies, Inc., Newport                                  U.S. PATENT DOCUMENTS
                Beach, CA (US)
(*) Notice: Subject to any disclaimer, the term of this                    4,818,988 A * 4/1989 Cooperman ........... H04Q 3/521
                                                                                                                                327/404
                patent is extended or adjusted under 35                    6,580,359 B1* 6/2003 Tam ..................... HO3K 17,005
                U.S.C. 154(b) by 1089 days.                                                                                       326/27
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(21) Appl. No.: 13/437,629                                                                                                    340,14.62
                                                                           6,900,998 B2 *     5/2005 Erickson ............... HO2M 5,297
                                                                                                                                   29044
(22) Filed:         Apr. 2, 2012                                       2003/0O85718 A1*   5, 2003 Guiraud ............... HO3K 17,603
                                                                                                                                  324,631
(65)                     Prior Publication Data                        2011/027701.0 A1* 11/2011 Paul ......................... HO4B 3.06
                                                                                                                                  725 149
       US 2012/O262219 A1           Oct. 18, 2012
                                                                      * cited by examiner
                                                                      Primary Examiner — Mohamed Barakat
            Related U.S. Application Data
                                                                      (57)                   ABSTRACT
(60) Provisional application No. 61/471.540, filed on Apr.            A crosspoint Switch device has a plurality of input ports each
       4, 2011.                                                       connected to a respective Voltage source and a plurality of
(51)   Int. C.                                                        output ports each connected to a respective Voltage source. A
       HO3K I7/00               (2006.01)                             Switch array selectively provides signal paths between the
       HO3K 7/693               (2006.01)                             input ports and the output ports. The Voltage sources are
       H04L 2/933               (2013.01)                             separate from one another.
       G06F 3/40                (2006.01)                                             2 Claims, 7 Drawing Sheets

                                                                                                                       -300
                  324A
                                            Crosspoint Switch with Reconfigurable I/O and
                                                       Per Port Separated WDD
                  I/O WDDo                                                                                  I/O WDDn
                                                                                                               328A


                                                                                                            I/O Portni
                                                                                                                320A

                               Configurable I/O

                  324N
                  I/O WDDn                                                                                  I/O WDDm
                                                                                                                328N

                  35N
                  IFO Port                                                                                  I/O Portm
                                                                                                                32ON

                                                                                       Configurable I/O
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                                                              - 10
     104A



     104B



     104C
                                                        112

    104D
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                   Crosspoint Switch and mix of Reconfigurable and Dedicated I/O
         640                          and Per Port Separated VDD
                                                                                          648
     I/O VDDoi
                                                                                       Output VDD m, m+1
                                                                                          612A
       I/O Porto                                                       p               Output Portm


                                                                                          612B
                                                                                       Output Portm-1

        608B                                                                              652
       I/O Port                                                                        I/O VDDP,p-1

                   Configurable I/O                                                      612M
                                                                                       I/O Port
         644
 Input VDDn, n+1
       608M
     Input Portn
                                                                                          612N
                                                                                       I/O Port p+1
       608N
   Input Portn-1
                                                                   Configurable I/O


                                               FIG. 6
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                                                       US 9,356,591 B2
                               1.                                                                    2
       CROSSPOINT SWITCH WITH SEPARATE                                   source device 208A is connected to a voltage source VDD 1.
        VOLTAGE SOURCES FOR INPUT AND                                    However, the input port 220A is connected to the voltage
                OUTPUT PORTS                                             source Input VDD. Since the source device 208A and the
                                                                         input port 220A are connected to different Voltage sources, a
                                                                         level shifter 232A and a buffer 236A are connected in series
  This application claims priority to U.S. Provisional Patent            to enable the source device 208A to connect to the crosspoint
Application No. 61/471.540 filed Apr. 4, 2011, entitled                  Switch 216. Alternatively, an AC coupling capacitor may be
CROSSPOINT SWITCH WITH SEPARATE VOLTAGE
SOURCES FOR INPUT AND OUTPUT PORTS, the disclo                           used to facilitate such connections. For example, the Source
sure of which is hereby incorporated by reference in its                 device 208B is linked to the crosspoint switch 216 via an AC
entirety.                                                           10   coupling capacitor 232B and a buffer 236B.
                                                                            Referring again to FIG. 2, the destination device 212A is
                                                                         linked to the Switch 216 via a level shifter 240A and a buffer
                    TECHNICAL FIELD                                      244A that are connected in series. On the other hand, the
                                                                         destination device 212N is linked to the switch 216 via a
  The invention relates generally to integrated circuits, and            coupling capacitor 240N and a buffer 244N. The use of level
more particularly to a crosspoint Switch with separate Voltage      15
                                                                         shifters and buffers increases the cost and complexity of a
Sources for input and output ports.                                      system. The use of AC coupling capacitors also increases
                                                                         complexity of a system and causes impedance discontinuities
                       BACKGROUND                                        on a circuit board, resulting in signal degradation. The cost
                                                                         and complexities associated with utilizing AC coupling
   Crosspoint Switches are used to route signals from a plu              capacitors and level shifters can be avoided by DC coupling.
rality of inputs to a plurality of outputs. FIG. 1 illustrates an        However, in order to DC couple the input and output ports of
existing 4x4 crosspoint switch 100 that has four input ports             the crosspoint Switch to the Source devices, the input and
104A-104D and four output ports 108A-108D. The cross                     output ports of the crosspoint Switch must be supplied from
point switch 100 includes a switch array 112 for selectively             the same Voltage source as the Source devices.
providing signal paths between the input ports 104A-104D            25
                                                                                                  SUMMARY
and the output ports 108A-108D. The switch array 112
includes four rows and four columns of switches 112. Each of
input lines 116A-116D links the output of one of the input                  An embodiment of the present invention provides a cross
ports 104A-104D to a separate row of the switches 112. Each              point Switch device for routing signals. The crosspoint Switch
of output lines 120A-120D links a separate column of the            30
                                                                         device includes a plurality of input ports each connected to a
                                                                         respective Voltage source. The crosspoint Switch device also
switches 112 to an input of one of the output ports 108A                 includes a plurality of output ports each connected to a
108D. Each switch 112 can selectively provide a signal path              respective Voltage source. The crosspoint Switch device also
between one of the input lines 116A-116D and one of the                  includes a Switch array for selectively providing signal paths
output lines 120A-120D.                                                  between the plurality of input ports and the output ports. The
   FIG. 2 illustrates an existing crosspoint switch 204 that        35   Voltage sources are separate from one another.
routes signals from a plurality of source devices 208A-208N                 Another embodiment of the present invention provides a
to a plurality of destination devices 212A-212N. The cross               crosspoint Switch device including at least two sets of input
point switch 204 includes a switch array 216 for selectively             ports. Each set of input ports includes at least two input ports,
providing signal paths between input ports 220A-220N and                 and each set of input ports is connected to a respective Voltage
output ports 224A-224N. Each one of the source devices              40   Source. The crosspoint Switch device also includes at least
208A-208N is connected to the switch array 216 via one of                two sets of output ports. Each set of output ports includes at
the input ports 220A-220N. Likewise, each one of the desti               least two output ports, and each set of output ports is con
nation devices 212A-212N is connected to the switch array                nected to a respective Voltage source. The crosspoint Switch
216 via one of the output ports 224A-224N.                               device also includes a Switch array for selectively providing
   It will be appreciated that the source devices 208A-208N         45   signal paths between the plurality of input ports and the
and the destination devices 212A-212N may not necessarily                output ports. The Voltage sources are separate from one
be connected to a same Voltage source. For example, Some of              another.
the source devices may be connected to a 1.8V source while                  The foregoing has outlined rather broadly the features and
the remaining source devices may be connected to a 3.3V                  technical advantages of the present invention in order that the
Source. Likewise, some of the destination devices may be            50   detailed description of the invention that follows may be
connected to a 1.5V source while the other destination                   better understood. Additional features and advantages of the
devices may be connected to a 2.5V source.                               invention will be described hereinafter which form the sub
   In existing crosspoint Switches, the input ports receive              ject of the claims of the invention. It should be appreciated by
power from a single Voltage source. Referring again to FIG.2,            those skilled in the art that the conception and the specific
the input ports 220A-220N receive power from a voltage              55   embodiment disclosed may be readily utilized as a basis for
source Input VDD. Because the input ports 220A-220N all                  modifying or designing other structures for carrying out the
receive power from a single Voltage source, it is possible to            same purposes of the present invention. It should also be
match the input ports 220A-220N to only one of the different             realized by those skilled in the art that such equivalent con
Voltage sources connected to the source devices, but not all.            structions do not depart from the spirit and scope of the
Similarly, the output ports 224A-224N receive power from a          60   invention as set forth in the appended claims.
single voltage source Output VDD. Thus, it is possible to
match the output ports 224A-224N to only one of the different                   BRIEF DESCRIPTION OF THE DRAWINGS
Voltage sources connected to the destination devices, but not
all.                                                                        For a more complete understanding of the present inven
   In order to connect the crosspoint switch 204 to a plurality     65   tion, and the advantages thereof, reference is now made to the
of devices powered by different voltage sources, level shifters          following descriptions taken in conjunction with the accom
and buffers are generally used. Referring again to FIG. 2, the           panying drawings, in which:
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                                3                                                                      4
   FIG. 1 illustrates an existing 4x4 crosspoint Switch includ         428N. The voltage sources 424A-424N, 428A-428N are
ing four input ports and four output ports.                            separate from one another. In other words, the Voltage sources
   FIG. 2 illustrates an existing crosspoint switch that routes        424A-424N, 428A-428N each may have a different voltage
data from a plurality of source devices to a plurality of desti        level. For example, the Voltage source 424A may supply 1.2V.
nation devices.                                                        the voltage source 424N may supply 1.8V, the voltage source
  FIG. 3 illustrates a crosspoint switch in accordance with            428A may supply 2.5V while the voltage source 428N may
one embodiment of the invention.                                       supply 3.3V.
  FIG. 4 illustrates a crosspoint switch in accordance with               FIG. 5 illustrates a crosspoint switch 500 in accordance
another embodiment of the invention.                                   with yet another embodiment of the invention. The crosspoint
   FIG. 5 illustrates a crosspoint switch in accordance with      10   switch 500 routes data from a plurality of source devices to a
yet another embodiment of the invention                                plurality of destination devices (Source and destination
   FIG. 6 illustrates a crosspoint switch in accordance with           devices not shown in FIG. 5). The crosspoint switch 500
yet another embodiment of the invention.                               includes a switch array 504 for selectively providing signal
   FIG. 7 illustrates an application of a crosspoint switch 700        paths between a combination of reconfigurable I/O ports and
with per port separated input and output Voltage sources.         15   dedicated input ports 540A-540N and a combination of
                                                                       reconfigurable I/O ports and dedicated output ports 548A
                  DETAILED DESCRIPTION                                 548N. The ports 540A-540N and 548A-548N are each con
                                                                       nected to a separate Voltage source. The reconfigurable I/O
   FIG. 3 illustrates a crosspoint switch 300 in accordance            port 540A is connected to a voltage source 524. The dedicated
with one embodiment of the invention. The crosspoint switch            input port 540N is connected to a voltage source 528. The
300 routes data from a plurality of source devices to a plural         dedicated output port 548A is connected to a voltage source
ity of destination devices (source and destination devices not         532, and the reconfigurable I/O port 548N is connected to a
shown in FIG.3). The crosspoint switch 300 includes a switch           voltage source 536. The voltage sources 524,528, 532 and
array 304 for selectively providing signal paths between               536 are separate from one another. In other words, the voltage
reconfigurable input/output (I/O) ports 316A-316N and             25   sources 524, 528, 532 and 536 each may have a different
reconfigurable input/output (I/O) ports 320A-320N. The                 voltage level.
reconfigurable I/O ports can each be configured to operate as             FIG. 6 illustrates a crosspoint switch 600 in accordance
an input port orasan output port. The reconfigurable I/O ports         with yet another embodiment of the invention. The crosspoint
316A-316N and 320A-320N are each connected to a separate               switch 600 includes a switch array 604 for selectively pro
voltage source. The reconfigurable I/O port 316A is con           30   viding signal paths between a combination of reconfigurable
nected to a voltage source 324A. The reconfigurable I/O port           I/O ports and dedicated input ports 608A-608N and a com
316N is connected to a voltage source 324N. The reconfig               bination of reconfigurable I/O ports and dedicated output
urable I/O port 320A is connected to a voltage source 328A             ports 612A-612N. A separate voltage source is used to power
and the reconfigurable I/O port 320N is connected to a voltage         a pair of ports. The reconfigurable I/O ports 608A and 608B
Source 328N.                                                      35   are connected to a voltage source 640. The dedicated input
   The voltage sources 324A-324N, 328A-328N are separate               ports 608M and 608N are connected to a voltage source 644.
from one another. In other words, the voltage sources 324A                The dedicated output ports 612A and 612B are connected
324N, 328A-328N each may have a different voltage level.               to a voltage source 524. The reconfigurable I/O ports 612M
For example, the voltage source 324A may supply 1.2V, the              and 612N are connected to a voltage source 652. The voltage
voltage source 324N may supply 1.8V, the voltage source           40   sources 640, 644, 648 and 652 are separate from one another.
328A may supply 2.5V while the voltage source 328N may                 In other words, the voltage sources 640, 644, 648 and 652
Supply 3.3V. By separating the Voltage sources, an I/O port            each may have a different voltage level.
can be powered by the same Voltage source that powers the                 FIG. 7 illustrates an application of a crosspoint switch 700
source or destination device to which the I/O port connects.           with per port separated input and output voltage sources.
For example, if the source device connected to the I/O port       45   Source devices 708A-708N each connects to a switch array
316A is supplied from a 1.2V source, the I/O port 316A can             704 via one of input ports 716A-716N. Accordingly, both the
be connected to the same 1.2V source. Similarly, if the des            source device 708A and the input port 716A receive power
tination device connected to the I/O port 320A is supplied             from a voltage source 724A. Thus, the source device 708A
from a 2.5V source, the I/O port 320A can be connected to the          and the input port 716A to which the source device 708A
same 2.5V source. Thus, by connecting each I/O port to the        50   connects to receive power from the same Voltage source.
same Voltage source connected to the Source or destination             Destination devices 712A-712N each connects to one of out
device to which the I/O port connects, the need for level              put ports 720A-720N. Accordingly, both the destination
shifters and AC coupling capacitors is eliminated and conse            device 712A and the output port 720A receive power from a
quently, a connection can be DC coupled.                               voltage source 728A. Thus, the destination device 712A and
   FIG. 4 illustrates a crosspoint switch 400 in accordance       55   the output port 720A to which the destination device 712A
with another embodiment of the invention. The crosspoint               connects to receive power from the same Voltage source.
switch 400 routes data from a plurality of source devices to a            It will be apparent that the foregoing disclosure can be
plurality of destination devices (Source and destination               expanded to any combination of dedicated input and output
devices not shown in FIG. 4). The crosspoint switch 400                ports and reconfigurable I/O ports. The various embodiments
includes a Switch array 404 for selectively providing signal      60   disclosed herein eliminate the need for level shifters and AC
paths between dedicated input ports 416A-416N and dedi                 coupling capacitors. As a result, overall cost of a system is
cated output ports 420A-420N. The ports 416A-416N and                  reduced and at the same time signal integrity is improved.
420A-420N are each connected to a separate voltage source.                Having thus described the present invention by reference to
The input port 416A is connected to a Voltage source 424A.             certain of its preferred embodiments, it is noted that the
The input port 416N is connected to a voltage source 424N.        65   embodiments disclosed are illustrative rather than limiting in
The output port 420A is connected to a voltage source 428A             nature and that a wide range of variations, modifications,
and the output port 420N is connected to a voltage source              changes, and Substitutions are contemplated in the foregoing
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                           5                                                                         6
disclosure and, in some instances, some features of the                   ports and the output ports, wherein the voltage sources
present invention may be employed without a corresponding                 each generate a different voltage value.
use of the other features. Many such variations and modifi             2. A system for routing signals, comprising:
cations may be considered obvious and desirable by those               a plurality of signal sources each connected to a respective
skilled in the art based upon a review of the foregoing descrip   5       Voltage source:
tion of embodiments. Accordingly, it is appropriate that the           a plurality of receiving devices each connected to a respec
appended claims be construed broadly and in a manner con                  tive Voltage source, wherein the voltage sources are
sistent with the scope of the invention.                                  separate from one another;
                                                                       a crosspoint Switch device comprising:
  The invention claimed is:                                       10   a plurality of input ports each connected to one of the signal
  1. A crosspoint switch device, comprising:                              Sources and connected to the Voltage source to which is
  a plurality of input ports each connected to one of a plural            connected the same signal source;
     ity of signal sources, and a respective voltage source to         a plurality of output ports each connected to one of the
     which is connected the same signal source:                           receiving devices and connected to the voltage source to
  a plurality of output ports each connected to one of a          15      which is connected the same receiving device; and
     plurality of receiving devices, and a respective voltage          a Switch array for routing signals from the plurality of
     Source to which is connected the same receiving device;              signal sources to the plurality of receiving devices by
     and                                                                  Selectively providing signal paths between the input
  a Switch array for routing signals from the plurality of                ports and the output ports, wherein the voltage sources
     signal sources to the plurality of receiving devices by              each generate a different voltage value.
     Selectively providing signal paths between the input                                  :k   ck   k   k   k
